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                 IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

In re:                                       )      Chapter 11
                                             )
THE KRYSTAL COMPANY, et al., 1               )      Case No. 20-61065-pwb
                                             )
                                             )
               Debtors.                      )      (Jointly Administered)


     APPOINTMENT AND NOTICE OF APPOINTMENT OF COMMITTEE OF
             CREDITORS HOLDING UNSECURED CLAIMS

     Pursuant to 11 U.S.C. § 1102(a), the United States Trustee for Region 21 hereby

 appoints the creditors listed on the attached Exhibit “A” to serve on the Committee of

 Creditors Holding Unsecured Claims in the above-captioned case.



                                                    NANCY J. GARGULA
                                                    UNITED STATES TRUSTEE

                                                    /s/ Thomas W. Dworschak
                                                    THOMAS W. DWORSCHAK
                                                    Georgia Bar No. 236380
                                                    United States Department of Justice
                                                    Office of the United States Trustee
                                                    Suite 362, Richard B. Russell Building
                                                    75 Ted Turner Drive, SW
                                                    Atlanta, Georgia 30303
                                                    (404) 331-4437, ext. 145
                                                    Thomas.w.Dworschak@usdoj.gov



1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
tax identification number, include: The Krystal Company (4140); Krystal Holdings, Inc. (5381);
and K-Square Acquisition Co., LLC (8916). The location of the Debtors’ corporate
headquarters and service address is: 1455 Lincoln Parkway, Suite 600, Dunwoody, Georgia
30346.
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                                         EXHIBIT A

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                               CERTIFICATE OF SERVICE

        This is to certify that I have on February 11, 2020, electronically filed the foregoing
Appointment and Notice of Appointment of Committee of Creditors Holding Unsecured Claims
using the Bankruptcy Court’s Electronic Case Filing program, and served as followed by electronic
mail:

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                                               3
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                                             /s/ Thomas W. Dworschak




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